            Case 2:20-cv-10738-JAK-MAA       Document 85                       Filed 02/13/25           Page 1 of 1 Page ID
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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
LENDLEASE (US) CONSTRUCTION INC.                                                                  CASE NUMBER

                                                                                           2:20-cv-10738-JAK-MAA
                                                      Plaintiff(s)
                             v.
CHINA OCEANWIDE HOLDINGS LIMITED                                       APPLICATION FOR APPEARANCE AND EXAMINATION
                                                                        OF    JUDGMENT DEBTOR or ✔ THIRD PARTY RE:
                                                                                       ✔   ENFORCEMENT OF JUDGMENT
                                                   Defendant(s)                            ATTACHMENT (Third Person)


                                                                        ✔ Judgment Creditor          Assignee of Record
         Lendlease (US) Construction Inc.         , the (choose one)
                    (Name)                                                   Plaintiff who has a right to attach order
hereby applies for an order requiring          FTI Consulting (BVI) Limited                       to appear and furnish information to aid
                                                     (Name of Person To Be Examined)
in enforcement of the money judgment or to answer concerning property or debt.
The person to be examined is:
           the judgment debtor
           a third person who (1) has possession or control of property belonging to the judgment debtor or the defendant or
           (2) owes the judgment debtor or the defendant more than $250.00. An affidavit or declaration supporting this
           application under California Code of Civil Procedure section 491.110 or 708.120 is attached hereto.
      ✔    a third person who has information concerning the business or financial affairs, assets, and/or transactions of the
           judgment debtor or the defendant sufficient to aid in the enforcement of the money judgment or right to attach order
           against the judgment debtor or the defendant pursuant to California Code of Civil Procedure sections 491.120 or
           708.130. An affidavit is attached hereto that (1) shows that a relationship exists between the judgment debtor or the
           defendant and the third party such that the third party can furnish information to aid in the enforcement of the money
           judgment or right to attach order and (2) sets forth the categories of information and documents sought.
The person to be examined resides or has a place of business in the county or within 150 miles of the place of examination. (See
California Code of Civil Procedure sections 491.150(b), 708.160(b).)

    This court is not the court in which the money judgment was entered or (attachment only) the court that issued the writ of
    attachment. An affidavit or declaration supporting an application under California Code of Civil Procedure section 491.150
    or 708.160 is attached.
    The judgment debtor has been examined within the past 120 days. An affidavit or declaration showing good cause for
    another examination is attached.

I declare under penalty of perjury that the foregoing is true and correct.

Dated:                 February 13, 2025
                                                                                             (Signature of Declarant)

                                                                                                 Oliver M. Gold
                                                                                              (Type or Print Name)
 A PROPOSED ORDER TO APPEAR FOR EXAMINATION (CV-4P ORDER) MUST ACCOMPANY THIS APPLICATION
CV-4P (05/18)                               APPLICATION FOR APPEARANCE AND EXAMINATION
                                                   (Enforcement of Judgment/Attachment)
